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             IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF DELAWARE

In re:                       )
                             )                     Case No.
ALLEGIANCE COAL USA LIMITED, )                     1:23-bk-10234
                             )
    Debtor                   )

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

              PLEASE TAKE NOTICE that Daniel D. Sparks of Christian & Small
LLP hereby enters an appearance as attorney of record for Nelson Brothers, LLC, a
creditor in the above styled Bankruptcy case.

             PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy
Rule 2002, the undersigned attorney of record requests that, without limitation, all
notices give or required to be given in this case, and all other documents served or
required to be served in this case, be given to and served upon the following:

                                Daniel D. Sparks
                          CHRISTIAN & SMALL LLP
                             1800 Financial Center
                              505 North 20th Street
                            Birmingham, AL 35203
                           ddsparks@csattorneys.com
                                (205) 795-6588

              This request encompasses, but is not limited to, all notices, copies,
documents, and pleadings, including, without limitation, notices of any Orders,
motions, demands, complaints, petitions, pleadings, papers, requests, applications,
or any other documents brought before this Court in this case, whether formal or
informal, or transmitted or conveyed by mail, hand delivered, telefax, telegraph,
teletex or otherwise which affect or seek to affect the above case.

            DATED this 22nd day of February, 2023.

                                             /s/ Daniel D. Sparks
                                             Daniel D. Sparks, Attorney for
                                             Nelson Brothers, LLC
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OF COUNSEL:
CHRISTIAN & SMALL LLP
1800 Financial Center
505 North 20th Street
Birmingham, AL 35203
(205) 795-6588
ddsparks@csattorneys.com

                         CERTIFICATE OF SERVICE

      I do hereby certify that a copy of the above and foregoing instrument was
served on the following via the means indicated for each, on this the 22nd day of
February, 2023.

Via US Mail:

Office of the U.S. Trustee
844 N. King St., #2207
Wilmington, DE 19801

Robert J. Dehney
Morris, Nichols, Arsht & Tunnell LLP
1201 N. Market Street, 16th Floor
Wilmington, DE 19899-1347

                                           /s/ Daniel D. sparks
                                           Daniel D. Sparks




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